287 F.2d 569
    GUARDIAN OIL &amp; GAS COMPANY, Inc.,v.Gordon CLARK, Trustee for Roy M. Johnson.
    No. 6506.
    United States Court of Appeals Tenth Circuit.
    Oct. 20, 1960.
    
      Gene M. Gardner, Duncan, Okl., for appellant.
      C. D. Cund, Duncan, Okl., and J. D. DeBois, Duncan, Okl., for appellee.
      Before MURRAH, Chief Judge, and BREITENSTEIN, Circuit Judge.
      PER CURIAM.
    
    
      1
      Appeal dismissed on motion of appellant.
    
    